        Case 1:17-cv-04291-JPB Document 184-1 Filed 02/24/23 Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                               )
______________________________,
NTAGANIRA                                      )
                           Plaintiff(s)        )
                                               )      Case No. 1:17-CV-04291-JBP
                V.                             )
                                               )
______________________________,
HHC TRS FP PORTFOLIO, LLC.                     )
                         Defendant(s)          )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
days from the date of delivery of the transcript to the Clerk to file with the Court a Request for
Redaction of this transcript. If no Request for Redaction is filed, the transcript may be made
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may purchase a copy from the court reporter/transcriber or view the document at the Clerk’s
Office public terminal.
                 ______________
                 2/24/2023                __________________________________
                                          PENNY COUDRIET
                        Date                        Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:       ______________________________________________
                              JURY TRIAL
                              ______________________________________________
       Proceeding Date:       ______________________________________________
                              12/13/2022
                              ______________________________________________
       Volume Number:         ______________________________________________
                              EXCERPT 1
                              ______________________________________________

      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): YES/CARLTON ROUSE

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                 ______________
                 2/24/2022                __________________________________
                                          PENNY PRITTY COUDRIET

                        Date                          Court Reporter
